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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

       THE SURFRIDER FOUNDATION,                      )
                 Plaintiff,                           )
                                                      )
                       v.                             )       Case No. 2:18-cv-00020
                                                      )
       UNITED STATES STEEL                            )
       CORPORATION,                                   )
                                                      )
                  Defendant.                          )       Consolidated with
       THE CITY OF CHICAGO,                           )
                  Plaintiff,                          )
                                                      )
                       v.                             )       Case No. 2:18-cv-00033
                                                      )
       UNITED STATES STEEL                            )
       CORPORATION,                                   )
                                                      )
                       Defendant.                     )


                            JOINT MOTION FOR STAY OF PROCEEDINGS
                              PENDING ENTRY OF CONSENT DECREE

       Plaintiffs, The Surfrider Foundation (“Surfrider”) and The City of Chicago (“City”)

(collectively, “Plaintiffs”), and Defendant, United States Steel Corporation (“U. S. Steel”),

(Plaintiffs and Defendant collectively, the “Parties”), by their attorneys, jointly request that this

Court enter an order staying the proceedings in this consolidated action due to the lodging of a

Complaint and an associated Consent Decree by the United States of America (“United

States”), on behalf of the United States Environmental Protection Agency (“EPA”), the

National Park Service (“NPS”) of the United States Department of the Interior (“DOI”) and the

National Oceanic and Atmospheric Administration (“NOAA”) of the United States Department

of Commerce; and the State of Indiana (“State”), on behalf of the Indiana Department of

Environmental Management (“IDEM”) and the Indiana Department of Natural Resources

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(“IDNR”) (collectively, the “Governments”), concerning enforcement of the Clean Water Act

(“CWA”) and U. S. Steel’s National Pollutant Discharge Elimination System (“NPDES”)

permits issued in 2011 and 2016. In support of this joint motion, the Parties state as follows:

       1.      This is a CWA citizen suit in which Surfrider and the City commenced separate

actions, on January 9, 2018 and January 17, 2018, respectively, under Section 505 CWA, 33

U.S.C. § 1365 (“Plaintiffs’ Complaints”).       Specifically, Surfrider’s citizen suit raises five

statutory claims for relief, alleging that U. S. Steel discharged pollutants in violation of Section

301 of the CWA, 33 U.S.C. § 1311, and in violation of the NPDES permits issued to

U. S. Steel’s Midwest Plant pursuant to Section 402 of the CWA, 33 U.S.C. § 1342. The City’s

citizen suit includes the same claims and adds a sixth claim for Negligence. This Court ordered

the consolidation of the Plaintiffs’ actions for discovery and trial purposes on March 1, 2018.

       2.      On April 2, 2018, the Governments concurrently filed a civil Complaint against

U. S. Steel (“Governments’ Complaint,” attached hereto as Exhibit A), and lodged a negotiated

proposed Consent Decree (attached hereto as Exhibit B) intended to resolve the claims in the

Governments’ Complaint, with the United States District Court for the Northern District of

Indiana. In accordance with 28 C.F.R. § 50.7 and 40 C.F.R. § 22.45, the proposed Consent

Decree will now enter a thirty-day period of public comment.

       3.      The facts alleged in the Governments’ Complaint and in the Plaintiffs’

Complaints relate to the same underlying factual issues and the claims asserted in each

Complaint relate to a similar set of CWA violations by U. S. Steel. If the Court enters a final

Consent Decree resolving the claims raised in the Governments’ Complaint, it has the potential

to narrow or resolve most or all of Plaintiffs’ claims in the Plaintiffs’ Complaints, thereby

reducing or streamlining any discovery or further litigation necessary in this action.



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Additionally, the public notice and comment period for the proposed Consent Decree will

provide the Parties with an opportunity to negotiate and settle any potentially unresolved issues,

thereby providing another avenue to avoid further litigation.

       4.      Accordingly, the Parties submit that considerations of judicial economy and

efficiency favor granting a stay at this time. The Parties agree that: (i) a stay will not unduly

prejudice or tactically disadvantage any of the Parties; (ii) a stay will simplify the issues in

question and streamline the trial; and (iii) a stay will reduce the burden of litigation on the parties

and on the Court. See, e.g., Union Benefica Mexicana v. Indiana, No. 2:11 CV 482, 2012 WL

2049917, at *2 (N.D. Ind. June 6, 2012); Rawlins v. Select Specialty Hosp. of Nw. Indiana, Inc.,

No. 2:10 CV 156, 2012 WL 4049262, at *1 (N.D. Ind. Sept. 13, 2012) (citing Abbott

Laboratories v. Matrix Laboratories, Inc., 2009 WL 3719214, *2 (N.D.Ill.2009).

       For the reasons set forth herein, the Parties respectfully request that the Court grant their

Joint Motion for Stay of Proceedings Pending Entry of Consent Decree. In order to keep the

Court apprised of the status of the Consent Decree, the Parties request a status conference 90

days from the date of the Court’s order on this Motion, and in subsequent 90-day intervals

thereafter until entry of the final Consent Decree.

                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2018, I electronically filed the foregoing Joint Motion for

Stay of Proceedings Pending Entry of Consent Decree with the Clerk of the Court using the

CM/ECF system, which will send notification of this filing to the attorneys of record and all

registered participants.



                                                    /s/ Paul M. Drucker
                                                    Paul M. Drucker




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